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                                                                 Monday, 18 March, 2019 12:12:07 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

      RESPONSE TO MOTION IN LIMINE TO EXCLUDE IMPROPER OPINION
                  EVIDENCE FROM THE PENALTY PHASE

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and respectfully submits this Response the government’s Motion In Limine to

Exclude Improper Opinion Evidence from the Penalty Phase, (R. 253). Mr. Christensen

has no intention of eliciting any of the types of opinion evidence that the government

seeks to preclude and thus the Motion is moot.

I.     Mr. Christensen Has No Intention of Eliciting Any Witness’s Opinion
       Regarding the Death Penalty or his Likely Future Adjustment to Incarceration

       It is unclear from the government’s Motion whether it seeks to bar testimony

regarding witness’s opinions of the death penalty in the abstract or just opinions

regarding the appropriateness of the death penalty in this particular case. (R. 253 at 1.)

Regardless, Mr. Christensen has no intention of eliciting either type of evidence. A

witness’s personal opinion regarding the death penalty in general lacks relevance to the

penalty determination that the jury must make in an individual defendant’s case. See


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Fed. R. Evid. 401. And, as the government correctly states, the Supreme Court has

squarely held that witnesses may not render opinions regarding “the crime, the

defendant [or] the appropriate punishment.” Bosse v. Oklahoma, 137 S. Ct. 1 (2016).

       Similarly, Mr. Christensen will not seek to elicit speculative opinion testimony

regarding his possible future adjustment to prison that is unmoored from the witness’s

personal observations, experience or evaluation of Mr. Christensen’s character, such as

that condemned by the Fourth Circuit in United States v. Lighty, 616 F.3d 321, 364 (4th

Cir. 2010). He reserves the right to present lay testimony concerning the issue of future

dangerousness consistent with notice he has provided the government pursuant to Fed.

R. Evid. 16(b)(1)(C).

       WHEREFORE, Defendant respectfully requests that the Court deny the

government’s Motion as moot.

              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 18, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.


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